           Case 1:12-cv-00225-SCJ Document 1 Filed 01/20/12 Page 1 of 7




                                                                         FIlED IN CLERK'S OFFICE
                  IN THE UNITED STATES DISTRICT COURT                        U.S.D.C. Atlanta
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION                                JAN 20 201l
                                                                       JAMES N. HATIEN, C1erll
PATRICK FACEY,                                )
                                              )                   By:      B. ~JtlfY/\.'
              Plaintiff,                      )
                                              ) CIVIL ACTION    .
v.                                            ) FILE N0·1:        12-
                                                                   CV -         02 2 S
                                              )
                                              ) PLAINTIFF'S COMPLAINT
GC SERVICES, LP,                              )
                                              )
              Defendant.                      )
------------                                  )

                              NATURE OF ACTION

      1.      This is an action brought under the Fair Debt Collection Practices Act

("FDCPA"), 15 U.S.C. § 1692 etseq.

                           JURISDICTION AND VENUE

      2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d), 47 U.S.C. §

227(b)(3), 28 U.S.C. § 1331, and 28 U.S.C. § 1367(a).

      3.      Venue is proper before this Court pursuant to 28 U.S.c. §1391(b),

where the acts and transactions giving rise to Plaintiffs action occurred in this

State and this district, where Plainti ff resides in this State and this district, and

where Defendant transacts business in this State and this district.
           Case 1:12-cv-00225-SCJ Document 1 Filed 01/20/12 Page 2 of 7




                                      PARTIES

      4.      Plaintiff, PATRICK FACEY ("Plaintiff"), is a natural person who at

all relevant times resided in the State of Georgia, County of DeKalb, and City of

Decatur.

      5.      Plaintiff is a "consumer" as defined by 15 U.S.C. § 1692a(3).

      6.      Defendant, GC SERVICES, LP ("Defendant") is an entity who at all

relevant times was engaged, by use of the mails and telephone, in the business of

attempting to collect a "debt" from Plaintiff, as defined by 15 U.S.C. § 1692a(5).

      7.       Defendant is a "debt collector" as defined by IS U.S.c. § I692a(6).

                            FACTUAL ALLEGATIONS

      8.      Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendant.

      9.      Plaintiffs obligation, or alleged obligation, owed or due, or asserted to

be owed or due a creditor other than Defendant, arise from a transaction in which

the money, property, insurance, or services that are the subject of the transaction

were incurred primarily for personal, family, or household purposes.

      10.     Defendant uses instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or
          Case 1:12-cv-00225-SCJ Document 1 Filed 01/20/12 Page 3 of 7




regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

         II.   In connection with collection of an alleged debt in default, Defendant

made initial contact with Plaintiff by calling Plaintiffs telephone on August 2,

2011 at 4:15 P.M., and at such time, Defendant threatened to garnish Plaintiffs

wages unless Plaintiff agreed to make an immediate payment.

         12.   Said phone conversation of August 2, 2011, would lead a least

sophisticated consumer to believe that payment pursuant to Defendant's terms was

necessary to avoid further action, including but not limited to, immediate

garnishment, and as such, Defendant's communication overshadowed, and was

inconsistent with, the disclosures required by IS U.S.c. § I692g(a) et seq. during

the thirty-day dispute period.

         13.   Despite not being able to afford the payments, Defendant's threats

caused Plaintiff to agree to a $75.00 monthly withdrawal on his checking account.

                                      COUNT I

         14.   Plaintiff repeats and re-alleges each and every allegation contained

above.

         15.   Defendant violated 15 U.S.C. §1692e(4) by falsely representing or

implying that nonpayment of Plaintiffs debt would result in the seizure,
          Case 1:12-cv-00225-SCJ Document 1 Filed 01/20/12 Page 4 of 7




garnishment, attachment, or sale of Plaintiffs property or wages, where such

action is not lawful or Defendant did not intend to take such action.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendant violated 15 U.S.C. §1692e(4);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

                  in the amount of $1,000.00;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

               d) Awarding Plaintiff reasonable attorneys' fees ands costs incurred in

                  this action;

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just and

                  proper.

                                            COUNT II

         16.      Plaintiff repeats and re-alleges each and every allegation contained

above.

         17.      Defendant      violated   15   U.S.C.   § I692e(l 0)   by   usmg   false

representations and deceptive practices in connection with collection of an alleged

debt from Plaintiff.
          Case 1:12-cv-00225-SCJ Document 1 Filed 01/20/12 Page 5 of 7




         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated 15 U.S.C. §1692e( 10);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

                  in the amount of $1,000.00;

            c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § I692k;

            d) Awarding Plaintiff reasonable attorneys' fees ands costs incurred in

                  this action;

            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just and

                  proper.

                                        COUNT III

         18.      Plaintiff repeats and re-alleges each and every allegation contained

above.

         19.      Defendant violated 15 U.S.C. §1692g(b) by overshadowing the

disclosures required by 15 U.S.C. §1692g(a) during the thirty-day dispute.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated 15 U.S.C. §1692g(b);
         Case 1:12-cv-00225-SCJ Document 1 Filed 01/20/12 Page 6 of 7




              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.c. §1692k,

                 in the amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

              d) Awarding Plaintiff reasonable attorneys' fees ands costs incurred in

                 this action;

              e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                 may be allowed under the law;

              f) Awarding such other and further relief as the Court may deem just and

                 proper.

                                     TRIAL BY JURY

        20.      Plaintiff is entitled to and hereby demands a trial by jury.

This   iz" day ofJanuary, 2012.
                                                  ATTORNEYS FOR PLAINTFF
                                                  PATRICK FACEY




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        Case 1:12-cv-00225-SCJ Document 1 Filed 01/20/12 Page 7 of 7




        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Time New Roman and

a point size of 14.




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